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                      AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

           I, Justin Blais, being first duly sworn, hereby depose and state as follows:

           1.       I am a Special Agent for the United States Department of Justice, Bureau of Alcohol,

Tobacco Firearms and Explosives, (ATF), and have been so employed since March 12, 2000. As a

result of my training and experience as an ATF Special Agent, I am familiar with federal criminal law

and know that the following statute potentially applies to information contained within this affidavit:

18 U.S.C. § 922(g)(1) - Possession of Firearm by a Person Who Has Been Convicted Of A Crime
                                                                             1
Punishable by Imprisonment for a Term Exceeding One Year.

           2.       I submit this Affidavit in support of a criminal complaint charging David Phillips

(“Phillips”) with one count of possession of ammunition by an individual who has been

convicted of a crime punishable by imprisonment for a term exceeding one year, in violation of

18 U.S.C. § 922(g)(1).

           3.       This affidavit is made in support of an arrest warrant and criminal complaint and

is intended to provide facts necessary for a determination of probable cause. These facts are

based on my personal knowledge, information obtained during my participation in this

investigation, information from other law enforcement professionals, my review of documents,

recordings, and other relevant records related to this investigation, as well as other information

gleaned through training and experience.

                                                 BACKGROUND

           4.       As part of the investigation, I was able to confirm Phillips has previously

sustained a conviction for a crime punishable by imprisonment for a term exceeding one year ,

specifically:

                •   Felony Violation of a Protective Order, Docket F02B‐CR16‐0290873‐S, in
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    I know that under federal law, the definition of firearm includes ammunition.
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               the Bridgeport, Connecticut Superior Court, judgment having entered on
               December 22, 2016,


                                      PROBABLE CAUSE

       5.      Maine Military Supply (“MMS”) is an Army/Navy retail store in Holden, Maine

that is open to the public and specializes in military surplus items including tactical gear, guns,

and ammunition. MMS records the name of the purchaser listed on the credit/debit

card for every credit/debit card purchase at its store. On February 8, 2021, I went to MMS and

reviewed receipts for the credit/debit card transactions for Phillips in 2021. The following is a

summary of those receipts:

               •       On January 20, 2021, Phillips purchased 50 rounds of Winchester 5.56
                       caliber ammunition.

               •       On January 22, 2021, Phillips purchased 50 rounds of Winchester 5.56
                       caliber ammunition, AK rifle magazine, and an AR-15 type rifle stock.

               •       On January 30, 2021, Phillips purchased 50 rounds of Federal .40 caliber
                       ammunition, 20 rounds of Sig Sauer 300 Blackout caliber ammunition, 20
                       rounds of Nosler 9mm caliber ammunition, and three (3) AK magazines.

       6.      I have seen the Connecticut photo identification card of Phillips. MMS showed

me the security video of each transaction listed above. For each transaction, I clearly observed

Phillips purchase the ammunition and leave the store possessing the ammunition.

       7.      ATF Special Agent Tyler Leighton was consulted regarding the ammunition

purchased by Phillips at MMS. Special Agent Leighton is a court-recognized expert in the field

of interstate identification of firearms and ammunition and, according to the special agent, the

ammunition purchased by Phillips was not manufactured in the state of Maine and would have

had to travel in interstate commerce to be present in the state of Maine.




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